    Case 3:16-cv-00322-JJB-RLB            Document 17        08/26/16 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA
                          BATON ROUGE DIVISION


LANCE BROWN                          §
                                     §
             Plaintiff               §
                                     §
v.                                   § Civil Action No. 3:16-cv-00322
                                     §
                                     § Honorable Judge James J. Brady
PORTFOLIO RECOVERY ASSOCIATES;       §          Article III Judge
And EXPERIAN INFORMATION             §
SOLUTIONS, INC.                      § Honorable Richard L. Bourgeois, Jr.
                                     §           Magistrate Judge
                                     §
                                     §
             Defendants              §
                        NOTICE OF SETTLEMENT


      NOW COMES Plaintiff, to file this Notice, and in support would show as follows.

      1. Plaintiff is filing this notice to inform this Court that Plaintiff has settled

         their claim with Experian Information Solutions, Inc. only.

      2. The parties anticipate that it will take no longer than thirty (30) days to

         finalize all of the documentation required to terminate this litigation and have

         an agreed Stipulation of Dismissal filed dismissing Experian Information

         Solutions, Inc.

      3. Plaintiff’s case against ALL REMAINING DEFENDANTS is still open,

         active and ongoing and has not been settled.



                                               Respectfully submitted,

                                                /s/ Jonathan Raburn
                                               Jonathan Raburn


                                                 1
     Case 3:16-cv-00322-JJB-RLB            Document 17        08/26/16 Page 2 of 2




                                                 LA Bar Roll No. 28728
                                                 The Raburn Law Firm, LLC
                                                 301 N. Main Street, Suite 2200
                                                 Baton Rouge, LA 70825
                                                 Jonathan@geauxlaw.com
                                                 Attorney for Plaintiff

                             CERTIFICATE OF SERVICE

I hereby certify that on the 26th day of August, 2016, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the attorneys on record:

Date Signed this the 26th day of August, 2016


                                                  /s/ Jonathan Raburn
                                                Jonathan Raburn
                                                 LA Bar Roll No. 28728
                                                 The Raburn Law Firm, LLC
                                                 301 N. Main Street, Suite 2200
                                                 Baton Rouge, LA 70825
                                                 Jonathan@geauxlaw.com
                                                 Attorney for Plaintiff




                                                 2
